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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

 UNITED STATES OF AMERICA,             ) CASE NO. 8:05CR187
                                       )
       Plaintiff,                      )
                                       )
 vs.                                   ) MEMORANDUM & ORDER
                                       )
 TONIA PLUNK,                          )
                                       )
                                       )
       Defendant.                      )

       The matter of a Court ordered psychiatric evaluation of the Defendant

 comes before the Court upon the oral motion of her court appointed counsel

 who made the following showing:

       1.     That, pursuant to an earlier Order of this Court by U.S.

 Magistrate Judge F.A. Gossett, U.S. Pretrial Services scheduled a substance

 abuse evaluation of Ms. Plunk.

       2.     That the evaluation was completed on May 9th, 2005 and

 performed by Catholic Charities.

       3.     That a report of the May 9th, 2005 Alcohol/Drug Assessment by

 Paula Moritz, Licensed Alcohol/Drug Counselor, was submitted to the Court

 in connection with pretrial release issues.          The report included a

 recommendation “…for a current psychiatric evaluation.”         Also, it was

 recommended that Ms. Plunk attend and complete intensive outpatient

 chemical dependency treatment.
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       4.     That U.S. Pretrial Service Officer Jennifer A. Meyerink

 submitted a standard “Release Status Report to the Court” dated August 11th,

 2005 and it appears that Ms. Plunk is living in a ¾ way house, actively

 participating in outpatient substance abuse treatment and in other ways

 following the conditions of her release order. However, there has been no

 psychiatric evaluation conducted.

       5.     That counsel is aware as a result of his representation that

 significant physical and mental abuse has occurred to Ms. Plunk during the

 course of her participation in the conspiracy and may contribute to the

 recommendation by Ms. Moritz that Ms. Plunk be referred for a current

 psychiatric evaluation.

       Upon showing stated, the Court finds the oral motion should be

 granted and the Court orders that prior to sentencing the defendant be

 referred for a current psychiatric evaluation and the results of that evaluation

 be disclosed to defense counsel.

       Dated this 17th day of August, 2005.

                                         BY THE COURT:


                                         s/ Joseph F. Bataillon
                                         Joseph F. Bataillon
                                         United States District Judge
